  Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 1 of 24 PageID: 87




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY



 JERSEY MIKE’S FRANCHISE                 Civil Action No. 3:23-cv-03444-GC-TJB
 SYSTEMS, INC.

           Plaintiff,

 v.

 AMERICAN ARBITRATION
 ASSOCIATION, INC., OPHELIA
 AUGUSTINE, and CECELIA LAHR

           Defendants.


MEMORANDUM IN SUPPORT OF DEFENDANTS OPHELIA AUGUSTINE AND
  CECELIA LAHR’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 2 of 24 PageID: 88




                                                     Table of Contents



INTRODUCTION ................................................................................................................. 1

RELEVANT FACTUAL BACKGROUND .......................................................................... 3

STANDARD OF REVIEW ................................................................................................... 6

ARGUMENT ......................................................................................................................... 7

   I. THE COURT HAS NO JURISDICTION OVER THE ADMINISTRATION OF AN
      ARBITRATION UNTIL AFTER THE FINAL AWARD ............................................. 7

 II. PLAINTIFF MAY NOT EVADE ITS OWN ARBITRATION AGREEMENT BY
   ASKING THIS COURT TO ADJUDICATE THE DISPUTES IN THE
   ARBITRATIONS ............................................................................................................ 11

 III. THIS CASE DOES NOT CONCERN A DISPUTE RELATING TO THE SCOPE,
   APPLICATION, AND ENFORCEABILITY OF THE ARBITRATION AGREEMENT
   BUT AT MOST INVOLVES A QUESTION OF WHETHER A CLAIM IS
   ARBITRABLE ................................................................................................................. 13

CONCLUSION .................................................................................................................... 19




                                                                       i
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 3 of 24 PageID: 89




                                                    Table of Authorities
                                                                                                                           Page(s)
  Cases

Brown v. Google LLC,
  525 F.Supp.3d 1049 (N.D. Cal. 2021) ............................................................................... 11
Clarus Med., LLC v. Myelotec, Inc.,
  2005 WL 3272139 (D. Minn. Nov. 30, 2005) ................................................................... 12
Conntech Dev. Co. v. Univ. of Connecticut,
  102 F.3d 677 (2d Cir. 1996) .............................................................................................. 14
Cordas v. Uber Techs., Inc.,
  228 F. Supp. 3d 985 (N.D. Cal. 2017) ............................................................................... 19
Festival Fun Parks, LLC v. Mountain Creek Resort, Inc.,
  2015 WL 758467 (D.N.J. Feb. 23, 2015) ............................................................................ 8
Gould Elecs.. Inc. v. U.S.,
  220 F.3d 169 (3d Cir. 2000) ................................................................................................ 6
Gulf Guaranty Life Ins. Co. v. Connecticut Gen. Life Ins. Co.,
  304 F.3d 476 (5th Cir. 2002) ....................................................................................... 7, 8, 9
Hedges v. U.S.,
  404 F.3d 744 (3d Cir. 2005) ................................................................................................ 7
Hooters of Am., Inc. v. Phillips,
  173 F.3d 933 (4th Cir. 1999) ............................................................................................... 8
Information Systs. Audit and Control Assoc., Inc. v. TeleCommunication Systs., Inc.,
  2017 WL 2720433 (N.D. Ill. June 23, 2017)..................................................................... 12
Jones v. Dairy Farm v. Local No. P-1236,
  760 F.2d 173 (7th Cir. 1985) ............................................................................................. 15
Loewen v. Lyft, Inc.,
  2015 WL 12780465 (N.D. Cal. June 12, 2015)................................................................. 18
Marc Rich & Co. v. Transmarine Seaways Corp.,
  443 F. Supp. 386 (S.D.N.Y. 1995) ...................................................................................... 9
Merit Ins. Co. v. Leatherby Ins. Co.,
  714 F.2d 673 (7th Cir. 1983) ............................................................................................. 12
Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.,
  473 U.S. 614 (1985) .......................................................................................................... 12
Moses H. Cone Hosp. v. Mercury Constr. Corp.,
  460 U.S. 1 (1982) ................................................................................................................ 8
Oxford Health Plans LLC v. Sutter,
  569 U.S. 564 (2013) .......................................................................................................... 10


                                                                        ii
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 4 of 24 PageID: 90




Pension Benefit Guar. Corp. v. White Consol. Indus.,
 998 F.2d 1192 (3d Cir. 1993) .............................................................................................. 6
Preston v. Ferrer,
 552 U.S. 346 (2008) .......................................................................................................... 12
Richardson v. Coverall N. Am.,
 811 Fed. Appx. 100 (3d Cir. 2020) ................................................................................... 16
Sundquist v. Ubiquity, Inc.,
 2017 WL 3721475 (S.D. Cal. Jan. 17, 2017) .................................................................... 19
Teamsters Local Union v. J.H. Merritt & Co.,
 770 F.2d 40 (3d Cir. 1985) ................................................................................................ 15
Terminal Construction Corp. v. Bergen County Hackensack River Sanitary
Sewer Dist. Authority,
 18 N.J. 294, 113 A.2d 787 (1955) ..................................................................................... 17
U.S ex rel. Atkinson v. Pa. Shipbuilding Co.,
 473 F.3d 506 (3d Cir. 2007) ................................................................................................ 6
United Indus. Workers v. Government of Virgin Islands,
 987 F.2d 162 (3d Cir. 1993) .............................................................................................. 14

  Statutes

9 U.S.C. § 5 ............................................................................................................................ 9
9 U.S.C. § 10 .................................................................................................................... 9, 10
28 U.S.C. § 1331 .................................................................................................................. 14
§ 10(a)(4) .............................................................................................................................. 10

  Rules

Rule 12(b)(1) of the Federal Rules of Civil Procedure .............................................. 1, 3, 6, 7




                                                                           iii
  Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 5 of 24 PageID: 91




                                      INTRODUCTION
      Defendants Ophelia Augustine (“Augustine”) and Celia Lahr (“Lahr” and, together with

Augustine, “Defendants” or “Claimants”), by and through their undersigned counsel,

respectfully move for dismissal with prejudice of the Complaint filed by Plaintiff Jersey

Mike’s Franchise Systems, Inc. (“Plaintiff” or “Jersey Mike’s”) for lack of subject matter

jurisdiction under Rule 12(b)(1) of the Federal Rules of Civil Procedure.

      Faced with various pending arbitration proceedings asserting claims against Plaintiff

under the federal Wiretap Act and California Invasion of Privacy Act (“CIPA”) (“the

Arbitrations”), Plaintiff now seeks to do an end run around its own Arbitration Agreement by

asking this Court to take the extraordinary step of interfering with the administration of those

Arbitrations and having the disputes between the parties adjudicated in this Court.

      In particular, Plaintiff seeks both equitable relief and monetary damages from Claimants

and Defendant American Arbitration Association (“AAA”) (together, “Defendants”) on the

theories that: (i) the disputes that are the subject of the Arbitrations are non-arbitrable because

Claimants are not “registered users”; (ii) to the extent there is an arbitrable dispute, AAA has

failed to apply the Arbitration Agreement properly and should be replaced with JAMS insofar

as the AAA Arbitrators have used the Consumer Arbitration Rules (the “Consumer Rules”)

instead of the Commercial Arbitration Rules (the “Commercial Rules”) and permitted

Claimants to assert claims under California law instead of New Jersey law; and (iii) Claimants

are in breach of the Terms of Use by accessing Plaintiff’s website to “manufacture frivolous

legal [wiretapping] claims against Plaintiff of the same type as they have asserted against


                                                      1
  Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 6 of 24 PageID: 92




many other companies,” and by seeking to “alter or modify” the website by “seeking to

preclude Plaintiff from using [the] Meta,” Inc. (“Meta”) Pixel tracking software even though

Claimants allegedly consented to have their website activities disclosed to Meta.

      It is well established that Courts will not interfere with the administration of pending

arbitrations except under extraordinary circumstances, nor will they allow parties to

circumvent their own arbitration agreements by seeking adjudications of issues raised in the

claims presented in those arbitration proceedings. To invoke this Court’s subject matter

jurisdiction and litigate the merits of issues squarely presented by the claims and defenses in

the Arbitrations (including whether Claimants consented to the alleged wiretapping activities),

Plaintiff seeks to manufacture a factual dispute over arbitrability and a challenge to AAA’s

willingness to administer the Arbitrations in accordance with the Arbitration Agreement.

However, neither of these grounds supports jurisdiction.

      Even if an arbitrator may have erred in determining that a dispute was arbitrable or in

construing the arbitration agreement to allow application of the Consumer Rules rather than

the Commercial Rules and to permit Claimants to pursue a wiretapping claim under California

law rather than New Jersey law, the Federal Arbitration Act (“FAA”) does not permit courts

to overrule an arbitrator simply because it disagrees with the arbitrator’s interpretation of the

contract. While Plaintiff asserts that the issue of whether Claimants were “registered users”

implicates the “scope” of the Arbitration Agreement, Plaintiff failed to timely raise this issue

in the Arbitrations and Plaintiff contradicts its untimely conclusory allegations disavowing its

own Arbitration Agreement by simultaneously asserting that Claimants breached the Terms


                                                    2
  Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 7 of 24 PageID: 93




of Use—something that Claimants could only have done if they had manifested assent to those

Terms of Use by registering accounts on the website.

      Accordingly, there is no basis for jurisdiction over this dispute (including over the

merits of issues raised by the claims and defenses in the pending Arbitrations) and, as a

consequence, the Complaint should be dismissed in its entirety pursuant to Rule 12(b)(1).


                        RELEVANT FACTUAL BACKGROUND

      Claimants are individuals and residents of California who both are registered users of

Plaintiff and separately accessed Plaintiff’s website. During those interactions Plaintiffs

searches and orders thereon were transmitted to Meta as a result of Plaintiff’s installation of a

Meta software tool known as the Meta Tracking Pixel (“Pixel”), without Defendants’

knowledge or consent. In various pending Arbitrations brought before AAA, Claimants allege

that they were registered users of the website and that Plaintiff enabled the substance of their

communications with the website to be shared with Meta without their authorization while

they were logged off of the Meta platform. In the Arbitrations, Claimants allege that Plaintiff

violated both federal and California wiretapping statutes by enabling Meta to intercept and

use Claimant’s communications with Plaintiff’s website for Meta’s own commercial purposes

by virtue of the Pixel software.

      In response to the Demands in the Arbitrations, Plaintiff did not deny that the

Arbitration Agreements applied but argued that the AAA’s Commercial Rules rather than the

Consumer Rules should apply. See Complaint, Ex. A. After one or more AAA Arbitrators



                                                    3
  Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 8 of 24 PageID: 94




determined that the Consumer Rules were applicable, Plaintiff commenced this action by

filing the Complaint against Claimants and AAA on June 26, 2023, alleging for the first time

that Claimants were not “registered users” subject to the Arbitration Agreement and further

asserting that AAA had failed to abide by the Arbitration Agreement and should be replaced

by JAMS and that Claimants had breached the Terms of Use by using Plaintiff’s website and

then pursuing claims under the federal Wiretap Act and CIPA. Either way, (if Claimants were

registered users or just accessed Plaintiff’s website), the terms and conditions apply, as well

as the sweeping arbitration provision.

      The operative terms and conditions do not require anyone who accesses Plaintiff’s

website to be a registered user for the terms, as well as the arbitration provision to apply. (See

Declaration of Timothy Coughlan, Esq. (hereinafter “Decl. Coughlan”), ¶ 2, Ex. A, page 1).




      The Terms of Use define the scope broadly. If anyone accesses Plaintiff’s website, the

terms and conditions apply. Id. Contained in these terms and conditions is a class action

waiver and arbitration agreement. The scope of this arbitration agreement is also extremely

broad, including the scope of the arbitration demands filed by Claimants.




                                                     4
  Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 9 of 24 PageID: 95




      (Decl. Coughlan, ¶ 2, Ex. A, page 4).




      (Decl. Coughlan, ¶ 2, Ex. A, page 5).

      The claims Plaintiffs are seeking to avoid in arbitration fit squarely within the scope of

the terms and conditions. Claimants take issue with Plaintiff’s illegal use of Meta pixels

contained on its website, spying on Claimants without knowledge or consent. Plaintiffs cannot

say these claims do not fall within the language of, “[a]ny legal or equitable dispute between

you and JMFS and/or its franchisees (“we” or “us”) relating in any way to this Website is a

“Claim”. Id. (emphasis added).

      Putting aside the broader scope of the terms and conditions, both Claimants were

registered users of Plaintiff. A copy of the operative terms and conditions are attached hereto


                                                    5
  Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 10 of 24 PageID: 96




as Ex. A.1 (Decl. Coughlan, ¶ 2, Ex. A). Even if Plaintiffs were to claim that Claimants were

required to be registered users for the terms and conditions to apply (which is an absurd

reading), each Claimant had previously registered their phone numbers with Plaintiff, would

receive text messages and would receive reward points for prior purchases. (Decl. Coughlan,

¶ 5).

                                           STANDARD OF REVIEW

        The standard of review on a motion to dismiss under Federal Rule of Civil Procedure

12(b)(1) for lack of subject matter jurisdiction varies depending on whether the defendant

makes a facial or factual challenge. See Gould Elecs., Inc. v. U.S., 220 F.3d 169, 176 (3d Cir.

2000). “In reviewing a facial attack, the court must only consider the allegations of the

complaint and documents referenced therein and attached thereto, in the light most favorable

to the plaintiff.” Id. In contrast, in reviewing a factual challenge, the allegations of the

complaint are not accepted as true, and “the court may consider evidence outside of the

pleadings.” Id. In evaluating motions to dismiss, a court may consider the complaint, exhibits

attached to the complaint, matters of public record. and undisputedly authentic documents if

the plaintiff's claims are based upon those documents. See Pension Benefit Guar. Corp. v.

White Consol. Indus., 998 F.2d 1192, 1196 (3d Cir. 1993); U.S ex rel. Atkinson v. Pa.

Shipbuilding Co., 473 F.3d 506 (3d Cir. 2007).                              Furthermore, “[w]hen subject matter




           1 It is important to point out that Plaintiff changed its terms and conditions after Claimants initiated arbitration with

           AAA. A comparison has not been made, but it is apparent that the arbitration provider has been changed from AAA
           to JAMS.


                                                                       6
     Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 11 of 24 PageID: 97




jurisdiction is challenged under Rule 12(b)(1), the plaintiff must bear the burden of

persuasion.” Hedges v. U.S., 404 F.3d 744, 750 (3d Cir. 2005).


                                         ARGUMENT

I.    THE COURT HAS NO JURISDICTION OVER THE ADMINISTRATION OF AN
      ARBITRATION UNTIL AFTER THE FINAL AWARD
         Plaintiff asks the Court to control the AAA Arbitrators’ administration of Claimants’

pending Arbitrations. As discussed below, the Court should refrain from issuing any orders

that impact the substance of any pending arbitration because, with all due respect, the Court

has no jurisdiction to accept the Plaintiff’s invitation to act as referee of the Arbitrations at

this stage in the proceedings and this court lacks subject matter jurisdiction to hear this

arbitrable dispute. A court's jurisdiction over a pending arbitration is limited to a review of

the arbitrator's final award, which has not occurred. At this point, however, any intervention

by the Court is premature and lacks jurisdiction.

         This issue was addressed in Gulf Guaranty Life Ins. Co. v. Connecticut Gen. Life Ins.

Co., 304 F.3d 476 (5th Cir. 2002), which involved two parties to a contractual arbitration

agreement. The case was originally filed in federal district court, but was compelled to

arbitration, and the case was stayed. See id. at 480-81. A dispute arose about the selection of

arbitrators, and Gulf Guaranty filed a second suit in district court claiming breach of the

arbitration agreement. See id. Arbitration was again compelled and the second suit was

dismissed (giving the Fifth Circuit jurisdiction to hear the appeal). See id. The court reviewed

the claims of the second suit (breach of the arbitration agreement and conspiracy). See id.


                                                    7
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 12 of 24 PageID: 98




The court explained that these were the types of claims for damages that arise from the alleged

failure or breach of the agreed arbitral process and that there was no authority for a court to

intervene in the process while a valid and enforceable arbitration agreement exists, pursuant

to the FAA. See id. at 486-88.

      The FAA affords limited jurisdiction for a court to intervene in an arbitration proceeding

prior to the issuance of an award. See, e.g., Festival Fun Parks, LLC v. Mountain Creek

Resort, Inc., 2015 WL 758467, at *8 (D.N.J. Feb. 23, 2015) (relying on authorities recognizing

that “judicial review was unavailable where arbitrators made an interim ruling that did not

conclusively resolve the submitted issues,” and that “judges must not intervene in pending

arbitration[s] to direct arbitrators to resolve an issue one way rather than another”) (citations

and internal quotation marks omitted). Challenges to the procedural aspects of arbitration are

for the arbitrator to decide, whereas challenges to the substantive arbitrability of disputes are

for the courts to decide. See Gulf Guaranty, 304 F.3d at 487. Objections to the nature of

arbitral proceedings are for the arbitrator to decide in the first instance, and fairness objections

should generally be made to the arbitrator subject only to limited post-arbitration judicial

review as set forth in section 10 of the FAA. See Hooters of Am., Inc. v. Phillips, 173 F.3d

933, 940-41 (4th Cir. 1999).

      In reversing the removal of arbitrators deemed to be unqualified under an arbitration

agreement, courts have explained that the congressional purpose of the FAA is to “move the

parties to an arbitrable dispute out of court and into arbitration as quickly and as easily as

possible.” Gulf Guaranty, 304 F.3d at 489 (citing Moses H. Cone Hosp. v. Mercury Constr.


                                                      8
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 13 of 24 PageID: 99




Corp., 460 U.S. 1, 22 (1982)). The FAA does not authorize a court to remove an arbitrator

prior to the issuance of an arbitral award but only to intervene in the process and select an

arbitrator upon application of a party if the parties fail to avail themselves of a method for

arbitrator selection or if there is a lapse in naming of an arbitrator. See id.; 9 U.S.C. § 5.

Additionally, the FAA does not provide a basis to remove an arbitrator from service, even

when there is arbitrator bias. Instead, the exclusive remedy is expressed in 9 U.S.C. § 10 as a

vacatur of any award. See Gulf Guaranty, 304 F.3d at 490.

      Furthermore, inasmuch as a prime objective of arbitration law is to permit a just and

expeditious result with a minimum of judicial interference, any other such rule could spawn

endless applications to the courts and indefinite delay, and otherwise there would be no

assurance that the party seeking removal would be satisfied with the removed arbitrator's

successor and would not bring yet another proceeding to disqualify him or her. See Marc Rich

& Co. v. Transmarine Seaways Corp., 443 F. Supp. 386, 387-88 (S.D.N.Y. 1995). The same

principles apply to the present case.

      Plaintiff’s Complaint of unfair procedure goes to the process of arbitration, not the

substance of the arbitration agreement, and thus Plaintiff may not, as they attempt, challenge

the AAA arbitrators’ choice of the Consumer Rules as being fundamentally unconscionable.

It is important to point out Plaintiff drafted the operative terms and conditions and created the

contractual relationship with Claimants. The arbitrator is afforded the sole discretion to

determine the proceedings. Now that Plaintiff is not happy with the procedural posture and

AAA’s initial determinations, it inappropriately seeks relief from this court. It is only after an


                                                     9
    Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 14 of 24 PageID: 100




award that a plaintiff has any right to seek relief with the trial court pursuant to 9 U.S.C. § 10.

Until that time, a trial court's intervention into the arbitration proceedings is beyond its

jurisdiction and authority.

        Moreover, even if the AAA Arbitrators erred in construing the Arbitration Agreement

to allow application of the Consumer Rules or California law in the manner in which the

Arbitrators applied them, the United States Supreme Court has held that under the FAA, courts

may not overrule an arbitrator simply because its interpretation of the contract is different from

his. See Oxford Health Plans LLC v. Sutter, 569 U.S. 564, 573 (2013) (“All we say is that

convincing a court of an arbitrator's error--even his grave error--is not enough. So long as the

arbitrator was “arguably construing” the contract--which this one was--a court may not correct

his mistakes under § 10(a)(4). . . . The arbitrator's construction holds, however good, bad, or

ugly.”) (internal citation and quotation marks omitted).2




2 Plaintiff’s arguments with respect to AAA’s conduct in connection with the Arbitrations are also baseless
on their face. Contrary to what Plaintiff asserts, the Arbitration Agreement contained in the Terms of Use did
not require that arbitrable disputes be subject to New Jersey law, nor did it require the application of the
Commercial Arbitration Rules (“Commercial Rules”). While the Terms of Use state that they are governed
by New Jersey law, they do not indicate what law would apply to any arbitrable dispute relating to the website
and not predicated on a violation of the Terms of Use themselves. Furthermore, although Plaintiff annexes a
brief that it submitted to AAA arguing that the Commercial Rules rather than the Consumer Arbitration Rules
(“Consumer Rules”) should apply and reciting language of the arbitration clause on this issue, the Terms of
Use in effect at the time themselves state only that “AAA will adjudicate the Covered Claims in accordance
with its Commercial Arbitration Rules and the Supplementary Procedures for Consumer Related Disputes.”
See Decl. Coughlan, Ex. A (emphasis added). In any event, even Plaintiff concedes that AAA could apply
the Consumer Rules under some circumstances, but Plaintiff merely disagrees with AAA’s decision not to
use the Commercial Rules in the Arbitrations between individual consumers and Plaintiff arising from
Plaintiff’s practice of facilitating Meta’s wiretapping in violation of federal and state privacy rights.

                                                           10
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 15 of 24 PageID: 101




II.   PLAINTIFF MAY NOT EVADE ITS OWN ARBITRATION AGREEMENT BY
      ASKING THIS COURT TO ADJUDICATE THE DISPUTES IN THE
      ARBITRATIONS
      As this reflects, the claims against Claimants amount to collateral attacks on the merits

of their own otherwise arbitrable disputes with Plaintiff in the Arbitrations over alleged

violations of the federal Wiretap Act and CIPA. Plaintiff has instituted this action in response

to the claims in the Arbitrations asserting infringements on Claimants’ privacy rights under

these federal and state laws.

      Each of Plaintiff’s claims against Claimants are premised on the argument that

Claimants never consented to Plaintiff’s disclosure of their communications on its website to

Meta through the Meta Pixel tracking software Plaintiff installed on that website, and that

Claimants are seeking to challenge and modify Plaintiff’s disclosure practices under federal

and state wiretapping laws even though those practices were purportedly authorized under

Meta’s privacy policies regarding off-Facebook website activities. However, consent is an

affirmative defense to the federal Wiretap Act and CIPA claims that requires resolution of

factual questions, in arbitration. Brown v. Google LLC, 525 F.Supp.3d 1049, 1063 (N.D. Cal.

2021) (Defendant carries the ultimate burden of proving a consent defense). Plaintiff’s action

thus seeks to evade the resolution of these claims and defenses in the Arbitrations by asking

this Court to adjudicate state law contract and tort claims denying that Plaintiff illegally shared

the content of its website users’ communications with Meta for Meta’s own commercial

purposes. There exists no independent subject matter jurisdiction over those contract claims.




                                                     11
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 16 of 24 PageID: 102




     Even where, unlike here, a plaintiff does not seek monetary relief, courts have still

recognized that claims of this sort that essentially seek to adjudicate “the key substantive

questions at issue in the [underlying] dispute” between the parties impermissibly “permit a

party to obtain from a court essentially the same relief as that otherwise reserved for the

arbitrator” in spite of a “sweeping arbitration provision.” Information Sys. Audit and Control

Assoc., Inc. v. Telecommunication Sys., Inc., 2017 WL 2720433, at *4 (N.D. Ill. June 23,

2017). See also, e.g., Clarus Med., LLC v. Myelotec, Inc., 2005 WL 3272139, at *4 (D. Minn.

Nov. 30, 2005) (“[T]o determine whether declaratory relief is appropriate, the Court would

need to interpret terms of the License and wade into the merits of the underlying dispute. . . .

[I]f the Court were to adjudicate Clarus’s requests for declaratory relief, the Court would, in

effect, read out the broad arbitration clause of section 20(a) . . . . [S]o long as a claim was

disguised as a declaratory judgment action, that claim could be brought before a court and thus

circumvent the very broad language of the arbitration clause.”).

      Placing these issues within the court’s purview would run counter to the Arbitration

Agreement’s purpose, which is precisely to avoid the time and expense associated with

litigation. See, e.g., Preston v. Ferrer, 552 U.S. 346, 357 (2008) (“A prime objective of an

agreement to arbitrate is to achieve ‘streamlined proceedings and expeditious results.’”)

(quoting Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 633

(1985)); Merit Ins. Co. v. Leatherby Ins. Co., 714 F.2d 673, 683 (7th Cir. 1983) (noting that

the “purpose of the United States Arbitration Act” is to “mak[e] arbitration a swift,

inexpensive, and effective substitute for judicial dispute resolution”).


                                                    12
  Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 17 of 24 PageID: 103




       To the extent Plaintiff’s claims against Claimants are based upon their use of Plaintiff’s

 website and the subsequent commencement of the Arbitrations alleging violations of the

 federal Wiretap Act and CIPA, those claims are intimately related to the merits of Claimants’

 Arbitrations. Therefore, the Court lacks subject matter jurisdiction over Plaintiff’s claims

 based on Claimant’s pursuit of the Arbitrations, and such claims based on Plaintiff’s use of

 the website and pursuit of those Arbitrations should be pursued via Plaintiff’s own Arbitration

 Agreement in its Terms of Use.          There simply is no federal question surrounding the

 arbitrability of the contract claims at issue.


III.   THIS CASE DOES NOT CONCERN A DISPUTE RELATING TO THE SCOPE,
       APPLICATION, AND ENFORCEABILITY OF THE ARBITRATION
       AGREEMENT BUT AT MOST INVOLVES A QUESTION OF WHETHER A
       CLAIM IS ARBITRABLE
       Even assuming, arguendo, that this Court could intervene at this stage in pending

 arbitration proceedings to adjudicate a dispute relating to “the scope, application, and

 enforceability of” the Arbitration Agreement’s terms, Plaintiff’s purported dispute over the

 arbitrability of a specific dispute based on whether or not Claimants are “registered users”

 cannot be enough to support subject matter jurisdiction on this ground. Plaintiff does not deny

 that the claims asserted in the Arbitrations fall within the scope of the Arbitration Agreement

 insofar as those claims relate to Plaintiff’s website. Based on the terms and conditions

 Claimants do not need to be registered users for the arbitration agreement to apply. (Decl.

 Coughlan, ¶ 2, Ex. A, page 1, 4, and 5). All disputes over Plaintiff’s website must go to

 arbitration. Id.


                                                     13
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 18 of 24 PageID: 104




      Instead, Plaintiff’s entire argument is that Claimants never assented to the Arbitration

Agreement because they did not create accounts prior to ordering from Plaintiff or otherwise

accessing its website. This is not required, but assuming the validity of Plaintiff’s argument,

both Claimants were registered users. Decl. ¶ 5. Plaintiff has consistently acknowledged the

Terms of Use—including the Arbitration Agreement incorporated therein—as a valid contract

and is now suing for breach of those Terms of Use. Plaintiff’s belated, self-serving allegations

that Claimants were not “registered users” does not implicate the scope or validity of the

Arbitration Agreement or create jurisdiction here. Nor does this dispute over the terms of the

arbitration agreement somehow convey federal subject matter jurisdiction over this

controversy. The requirements of 28 U.S.C. § 1331 are not met.

      As an initial matter, Plaintiff does not allege that it previously raised the issue of

whether Claimants were bound by the Terms of Use (including the Arbitration Agreement

contained therein) as a result of assenting by becoming registered users (i.e. creating a new

account). Indeed, the materials annexed to the Complaint merely indicate that Plaintiff sought

to have the Commercial Rules and not the Consumer Rules applied to the Arbitrations. See

Complaint, Ex. A. Even now, as further discussed below, Plaintiff presumes that Claimants

manifested assent to the Terms of Use and acted in violation of those requirements through

Claimants’ use of Plaintiff’s website and filing of the Arbitrations.

      A party waives its right to challenge the arbitrators' authority to decide a matter where

it voluntarily participates in the arbitration of that matter without objecting to the arbitrators'

authority to decide that matter. See United Indus. Workers v. Government of Virgin Islands,


                                                     14
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 19 of 24 PageID: 105




987 F.2d 162, 168-69 (3d Cir. 1993) (refusing to “give the Union two bites at the apple,

arbitration and litigation, to obtain a favorable outcome” because it had waived its right to

challenge the arbitrator's authority to decide that matter); see also Conntech Dev. Co. v. Univ.

of Connecticut, 102 F.3d 677, 685 (2d Cir. 1996) (noting that “[a]n objection to the

arbitrability of a claim must be made on a timely basis, or it is waived”); Teamsters Local

Union v. J.H. Merritt & Co., 770 F.2d 40, 42-43 (3d Cir. 1985) (holding that party who

voluntarily participates in an arbitration, without objecting, waives its ability to challenge the

arbitrator's authority); Jones v. Dairy Farm v. Local No. P-1236, 760 F.2d 173, 176 (7th Cir.

1985) (finding that by submitting to an arbitrator's jurisdiction without objection, the party has

“admitted the competence of the arbitrator to determine its ‘legal rights,’ [and] it cannot

complain that the arbitrator exceeded his authority by determining them”) (citation omitted).

Plaintiff did not object to the arbitration filings and began participating in the process. It was

only after it received initial rulings that the consumer rules would apply that it changed its

view on the arbitration proceedings and wanted to change the provider to JAMS in place of

AAA. By participating Plaintiff has already waived its right to challenge the proceedings.

      Furthermore, even if Plaintiff had not waived this objection to Claimants’ arbitrations

with AAA, Plaintiff still has failed to assert a plausible basis for invoking this Court’s

jurisdiction to resolve this contract dispute. Plaintiff relies exclusively upon language in the

Arbitration Agreement stating that the Court may decide objections with respect to the “scope,

application, and enforceability” of the Agreement, and Plaintiff asserts that “[s]cope,

application, and enforceability are issues of arbitrability.” Complaint, ¶¶ 12, 60-61, 64, 93,


                                                    15
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 20 of 24 PageID: 106




104, 111, 120, 133, and 134. But this does not grant this court (a court of limited jurisdiction)

subject matter jurisdiction.

      However, as the Third Circuit has recognized, disputes over arbitrability are different

than disputes over the “scope” or “validity” of an arbitration agreement, and where, as here,

the agreement provides that the arbitration shall be subject to the Rules of the AAA and does

not make an exception regarding “the arbitrability of any claim or counterclaim,” the

agreement manifests a clear intent to empower the arbitrator to resolve “any objections” over

the arbitrability of a dispute. See Richardson v. Coverall N. Am., 811 Fed. Appx. 100, 103-04

(3d Cir. 2020) (noting that where an arbitration agreement states that the AAA Rules govern

the arbitration of the underlying dispute between the parties, “[t]he arbitrator shall have the

power to rule on his or her own jurisdiction, including any objections with respect to the

existence, scope, or validity of the arbitration agreement or to the arbitrability of any claim or

counterclaim”) (emphasis added).

      The AAA Rules incorporated into the Arbitration Agreement thus expressly

differentiate between objections as to the “scope,” application, or enforceability of the

arbitration agreement and objections to the “arbitrability of any claim or counterclaim.”

Ordinarily, the arbitrator would finally resolve both types of jurisdictional objections, but in

this case, the Arbitration Agreement authorizes the parties to bring a judicial proceeding to

resolve disputes over the “scope, application, and enforceability” of the Agreement (i.e.

disputes over the existence of an Arbitration Agreement. However, because the Agreement

does not state that the parties may bring a judicial proceeding to resolve disputes over the


                                                    16
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 21 of 24 PageID: 107




arbitrability of a claim or counterclaim, the AAA Rules apply as a default and arbitrability

disputes should be resolved by the arbitrator.

      It is a fundamental principle of contract law that, all other things being equal, contracts

are to be construed against the drafter. See Terminal Construction Corp. v. Bergen County

Hackensack River Sanitary Sewer Dist. Authority, 18 N.J. 294, 302, 113 A.2d 787 (1955).

Here, Plaintiff itself drafted the Terms of Use and its Arbitration Agreement and fully

controlled the wording of that Agreement. Under the circumstances, any ambiguity in the

Arbitration Agreement on the issue of whether the arbitrability of specific claims was

delegated to AAA should be construed against Plaintiff, and the Court should find that Plaintiff

manifested a clear intent to be bound by AAA’s determinations regarding arbitrability of

claims under Plaintiff’s own Arbitration Agreement.

      Finally, even if this Court had independent jurisdiction under some circumstances to

consider the arbitrability of Claimants’ claims involving Plaintiff’s website and Plaintiff’s

practices of sharing information with Meta using the Pixel software installed on that website,

Plaintiff’s sole basis for contending that the dispute is outside of or not subject to the

Arbitration Agreement and thus not arbitrable is to essentially deny the existence of a contract

under which Claimants accepted the Terms of Use, including its Arbitration Agreement. Yet,

at the same time, Plaintiff asserts that Claimants breached those same Terms of Use, which

Claimants could only have done by assenting to those provisions through registration.

Plaintiff cannot have it both ways, and there is nothing in the Arbitration Agreement itself that

gives the Court jurisdiction to adjudicate a non-existent formation challenge.


                                                    17
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 22 of 24 PageID: 108




      Specifically, Plaintiff alleges that under the Terms of Use, it agreed to arbitrate disputes

only with “registered users” and that, upon investigation, Plaintiff “has been unable to find the

name of either Lahr or Augustine ever registering as a user” and “[s]ince neither Augustine

nor Lahr ever used or registered their names on the website, neither is a properly registered

user.” Complaint, ¶¶ 95-100. Plaintiff further asserts that “the issue of whether Augustine or

Lahr ever became registered users” is properly reviewable by this Court because that issue

involves “a ‘dispute[ ] regarding the [ ] application’ of the Arbitration Agreement.” Id. at ¶¶

101-04.

      However, as Plaintiff does not dispute, Claimants asserted in their arbitration demands

that they were registered users. They became registered users by entering their cellular

telephones with Plaintiff at their respective store. See Decl. Coughlan, ¶ 5. Under either set

of facts the scope of the terms and conditions (registered user v. non-registered user), apply to

Plaintiff and Claimants.

      Not only does Plaintiff not dispute that Claimants were users of the website but it seeks

to hold them liable for breaching the website’s Terms of Use. See Complaint, ¶¶ 160-221

(asserting various claims against Claimants for violating the Terms of Use in using the website

and bringing the Arbitrations against Plaintiff). Because Plaintiff has not “unequivocally

denied” entering into the Arbitration Agreement with Claimants, Plaintiff has failed to put the

making of the agreement at issue, and discovery is inappropriate. Loewen v. Lyft, Inc., 2015

WL 12780465, at *5 (N.D. Cal. June 12, 2015). Plaintiff may not also dispute whether




                                                    18
 Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 23 of 24 PageID: 109




Claimants used Plaintiff’s website as a means of raising a challenge to arbitrability of certain

user claims in federal court.

      Plaintiff cannot avoid arbitration by making a “self-serving, conclusory declaration” or

statement “claiming not to recall [Claimants] ever signing an agreement to arbitrate.”

Sundquist v. Ubiquity, Inc., 2017 WL 3721475, at *4 (S.D. Cal. Jan. 17, 2017) (citation

omitted); see also, e.g., Cordas v. Uber Techs., Inc., 228 F. Supp. 3d 985, 999 (N.D. Cal.

2017) (rejecting a challenge to an Uber engineer's declaration where plaintiff “offer[ed] no

evidence to rebut [Uber's] reasoned declaration other than his own conclusory allegations that

he never received notice of the terms and conditions” and thus “raise[d] no genuine dispute of

any material fact”). The terms and conditions which apply to the access and use of Plaintiff’s

website are operative and control.


                                       CONCLUSION

   The claims giving rise to this federal action arise solely out of contract. This court being a

court of limited jurisdiction should find there is no subject matter jurisdiction to hear any

claimed controversy. Based on the terms and conditions presented and agreed to on Plaintiff’s

website, all controversies must be resolved through binding arbitration. Simply because

Plaintiff is not happy with the preliminary rulings of the arbitrator Plaintiff contractually

selected does not give Plaintiff the right now to challenge its own contract, let alone in this

improper forum. This case should be dismissed for lack of subject matter jurisdiction with

instructions for Plaintiff to proceed through arbitration, as agreed.



                                                    19
Case 3:23-cv-03444-GC-TJB Document 13-3 Filed 08/17/23 Page 24 of 24 PageID: 110




Dated: August 17, 2023

                                           Respectfully submitted,
                                           MARON MARVEL BRADLEY
                                           ANDERSON & TARDY LLC
                                           BY: s/ Timothy Coughlan____________
                                               Timothy Coughlan
                                               Harborside Plaza 10
                                               3 Second Street, Suite 202
                                               Jersey City, NJ 07311
                                               Attorneys for Defendants
                                               Ophelia Augustine and Cecelia
                                               Lahr




                                             20
